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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                    Case No. 1:20-cr-00183-RJJ

                                                Hon. Robert J. Jonker
                                                United States District Judge
v.



BARRY GORDON CROFT, JR.,
                        Defendant.
________________________________________________________________________/

                  BRIEF REGARDING POSSIBLE JUROR ISSUE

         Mr. Croft, by his counsel, Joshua Blanchard, submits this brief to further

develop the record, apprise the court of the authority he believes is controlling, and

propose a remedy to the pending juror issue.

                                         FACTS

         On June 11, 2022, the Court was informed of a report that a juror in this case

told co-workers that the juror was hoping to be selected for jury duty in the

Whitmer Kidnapping case. It was further reported that the juror stated that the

juror had already decided the case and intended to ensure a particular result at the

conclusion of the trial, apparently without regard to the evidence introduced. The

timeline reported matches the timeline of jury selection in this case and the

reporting party had apparent credible identifying information regarding the juror

which lent credibility to the assertions.




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      Before trial started on June 11, 2022, the parties and the Court had a brief

conversation in chambers regarding this issue. The Court stated its intention to

proceed with trial, have the jury clerk investigate, and take up the matter at the

end of the day. During the trial day, the Court investigated through its jury clerk.

At the end of the trial day, the Court conducted another in-chambers conference

where it explained its findings from the jury clerk’s investigation, expressed an

intention to handle the matter by meeting with the juror in camera and without

counsel or defendants at the end of the trial proofs on June 12th. The Court denied

counsel’s request to be present and participate in this hearing.

                               LAW AND ARGUMENT

      I.     MR. CROFT IS ENTITLED TO AN EVIDENTIARY HEARING
             REGARDING THE ALLEGED MISCONDUCT.

      The Sixth Amendment guarantees a criminal defendant a trial by an

impartial jury. Morgan v. Illinois, 504 U.S. 719, 726–27, 112 S.Ct. 2222, 119

L.Ed.2d 492 (1992). “In essence, the right to jury trial guarantees to the criminally

accused a fair trial by a panel of impartial, ‘indifferent’ jurors.” Irvin v. Dowd, 366

U.S. 717, 722, 81 S.Ct. 1639, 6 L.Ed.2d 751 (1961). That means a jury must base its

verdict “upon the evidence developed at trial” and not other considerations. Morgan,

504 U.S. at 727. The presence of even a single biased juror deprives a defendant of

his right to an impartial jury. See Morgan, 504 U.S. at 729.

      “And if a trial court is presented with evidence of things like juror bias, it

must hold a ‘hearing with all interested parties permitted to participate.’” United




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States v. Bailey, No. 19-2280, 2022 WL 2444930, at *8 (6th Cir. July 5, 2022)

quoting Remmer v. United States, 347 U.S. 227, 230 (1954).

      A prospective juror's failure to disclose material information is grounds for a

new trial if it demonstrates bias. McCoy v. Goldston, 652 F.2d 654, 658–59 (6th

Cir.1981).

      When faced with an allegation of bias, then, the question becomes “did a juror

swear that he could set aside any opinion he might hold and decide the case on the

evidence, and should the juror's protestation of impartiality have been believed.”

Patton v. Yount, 467 U.S. 1025 (1984). The standard for relief when a juror makes

false statements is set out in McDonough Power Equipment, Inc. v. Greenwood, 464

U.S. 548 (1984). There, the Court explained that to obtain a new trial, a party “must

first demonstrate that a juror failed to answer honestly a material question on voir

dire, and then further show that a correct response would have provided a valid

basis for a challenge for cause.” Id. at 556.

      The Supreme Court “has long held that the remedy for allegations of juror

partiality is a hearing in which the defendant has the opportunity to prove actual

bias.” Smith v. Phillips, 455 U.S. 209, 215 (1982).

      Somewhat analogously, the Supreme Court has explained that “[w]hen a trial

court is presented with evidence that an extrinsic influence has reached the jury

which has a reasonable potential for tainting that jury, due process requires that

the trial court take steps to determine what the effect of such extraneous

information actually was on that jury.” Nevers v. Killinger, 169 F.3d 352, 373 (6th




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Cir.1999), overruled on other grounds by Harris v. Stovall, 212 F.3d 940 (6th

Cir.2000).

      II.    MR. CROFT HAS A RIGHT TO BE PRESENT AT ANY
             HEARINGS.

      Fed. R. Crim. P. 43 addresses a citizen’s right to be present at his own

criminal trial: “Unless this rule, Rule 5, or Rule 10 provides otherwise, the

defendant must be present at . . . every trial stage, including jury impanelment . . .

.” Fed. R. Crim. P. 43.

      In United States v. Gagnon, 470 U.S. 522, an issue developed during trial

regarding a juror observing Defendant Gagnon sketching jurors. Id. at 523. The

judge stated that he would examine the juror in chambers. Id. No counsel objected

to the plan. Id. The District Judge then went into chambers with the affected juror

and summoned counsel for Defendant Gagnon only. Id. A transcript of the

proceedings was made available to the counsel for co-defendants who were not

present and none of them objected to the procedure. Id. at 524.

      In addressing the Rule 43 claim, the Supreme Court assumed for purposes of

the appeal that the in camera hearing was a “stage of the trial” under Rule 43. Id.

at 527. It went on to explain that there was sufficient evidence that the defendants

waived their presence at the hearing because the District Court announced its

intention to hold the hearing and nobody objected before or after the hearing. The

Court went on the explain that “[a] defendant knowing of such a discussion must

assert whatever right he may have under Rule 43 to be present.” Id. at 528.

      In United States v. Bradshaw, the First Circuit noted that “[c]onducting an



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inquiry into a colorable question of jury taint is a delicate matter, and there is no

pat procedure for such an inquiry.” 281 F.3d 278, 290 (1st Cir. 2002). In Bradshaw,

the District Court conducted an inquiry into an extraneous document which

referenced severed counts that was sent to the jury room during deliberations. Id. at

286. When a “colorable claim of jury taint surfaces during jury deliberations, the

trial court has a duty to investigate the allegation promptly.” Id. at 289. The

purpose of which is to 1) determine whether the taint-producing event actually

occurred and 2) to assess the magnitude of the event and any resulting prejudice.

Id.

                                   CONCLUSION

      Because a credible claim regarding jury misconduct has been presented to the

Court, it is obligated to conduct a hearing. Pursuant to Rule 43 and the Fifth and

Sixth Amendments, Mr. Croft objects to any hearing being conducted in his absence.

                                        Respectfully Submitted,


Dated: August 11, 2022                  /s/ Joshua A. Blanchard
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